OPINION — AG — A SWIMMING POOL COMING WITHIN THE PROVISIONS OF 63 O.S.H. 631 AND WHICH IS NOT "MAINTAINED BY AN INDIVIDUAL FOR THE USE OF THIS FAMILY AND FRIENDS" IS A PUBLIC BATHING PLACE WITHIN THE PROVISIONS OF 63 O.S.H. 631 TO 63 O.S.H. 640 AND THE FACT THAT THE PERSON OWNING AND OPERATING SAID POOL DOES NOT MAKE A CHARGE FOR THE PRIVILEGE OF SWIMMING THEREIN IS IMMATERIAL. (FRED HANSEN)